                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


JIMMY HARRIS,
                        Plaintiff,

         v.                                               Case No. 14-CV-1002

CITY OF MILWAUKEE, et al.,
               Defendant.



                              COURT MINUTES OF JURY TRIAL

Judge Lynn Adelman, presiding                      Date: March 2-4, 2020
Deputy Clerk: ELT                                  Court Reporter: Sue Armbruster

APPEARANCES:

Plaintiff:       Cade
Defendant:       Smokowicz; Gehling
Nature of Conference: Jury Trial
Notes:
March 2, 2020
         10:35 am       Voir Dire
         11-11:05       Strikes for cause
                        Preliminary Instructions
         11:15          Batson Challenge re Juror #14
         11:32          Jury out; D raises issue re exhibits in P’s opening statement
         11:40          P opening statement
         12:03          D opening statement
         12:20          Lunch break
         1:05           P calls C. Simms
         2:05           cross Simms
         2:25           Redirect Simms




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     2:26         P calls C Jacks
     2:42         cross Jacks
     2:55         redirect Jacks
     2:57         break
     3:07         P calls defendant McCullough. Not present. P moves for default
                  judgment. Court will decide at end of trial.
     3:10         Kornreich video dep played
     4:35         Break
     4:40         Grindel video dep played.
     5:45         P moves admission of exhibits relied on in video deps. Adjourn.


March 3, 2020
     10:30        Court in session. P calls defendant Stelter
     11:05        cross stelter
     11:30        redirect stelter
     11:32        P calls defendant Kapusta
     11:45        cross Kapusta
     11:55        redirect Kapusta
     11:57        P calls defendant Santiago
     12:15        lunch break
     1:00         P examination of Santiago, cont’d
                  cross and redirect
     2:45         break
     3:00         P calls Brian Landers
     3:40         sidebar re scope of landers testimony
     3:42         p examination of landers cont’dd
     4            cross Landers
     4:35         redirect landers
     4:40         break
     4:50         P calls Harris
     5:50         Adjourn




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March 4, 2020
     8:30       Harris testimony, cont’d
     8:45       Cross harris
     9:25       redirect
     9:38       recross
     9:41       re-redirect
     9:42       P calls Walter McCullough; he’s not present
                P moves several exhibits
                P rests
                D calls Jose Alba
     10:10      break
     10:17      cross Alba
     11:00      redirect Alba
     11:02      D calls Pagan
     11:08      Cross Pagan
     11:12      D calls Laura Rees
     11:20      cross Rees
     11:25      attorneys discuss stipulation
     11:27      P calls Landers
     11:30      both sides rest subject to stipulation. Jury out. D moves for
                dismissal of failure to intervene claim against McCullough. P
                opposes motion and moves for missing witness instruction re
                McCullough. Discussion of instructions and verdict forms.
                Break.
     2:00       Court rules on McCullough issues. Discussion on the record of
                instructions and verdict forms.
                Closing Arguments
                Instructions
     6:15       jury gets case
     8:45       verdict




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